CJA 30 DEATH PENALTY PROCEED|NGS: APPOINTMENT OF AND AUTHORIT‘{ TO PAY COURT AP

 

 

 

 

 

 

 

 

 

POINTED CooNSEL

"“'“~'°'ST~’E&§@*Q:M gatewood-1 Documem 209 t-neu wm C E

TNW tafford James
3. MAG. ott'r..'oEF. NUMBER 4. ms'r. DKT.mEF. NUMBER s. APPEALS oKT./DEF. NUMBER 6. orman Dt<r. NUMat-;R

2:04-020254-004

'r. IN CAst~:/MATTER 0F tcmn.m¢) s. 'rvt>r: PERSGN REPRESENTF.D 9. REPRESENTATION TvPE

U.S. v. Staff`ord Aduit Defendant Federal Capitai Prosecution
to. 0FFENSE(s) cit ARGED(Cne u.s. Code. role st Seenon)

 

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ll 18 924C.F -- ViOLENT CRIME/DRUGS/M ACHINE GUN

list cup to tive) major offenses charged. according to severity oi‘ol`fense.

 

tt. ATTORNEv's NAMF. ¢Firnnsme,tvi.t.,t. in , 12. C uRT
including any sui`flx) AND MAILINC ADDRESS gmc 0 A?|::|l:::r: Counsel
Harviel, T Ciif’ton
Harvtcl Law Off'tcc
50 North Front Street

Prlnr Attorney‘s Name:

i:| F Suhs For FederaiDel'cnder
[l P Sul)s For Panel Attorney

l:l C cwcuunsel

i:|' R Suhs For Retalned Attorncy

i:\ V StatidityCounsei

 

Appo|ntment Date:

Suitc 850
Memphis TN 38l03

Teicphorie Numher: 901 543-9799

13. NAME AND MAILINC ADDRESS OF LAW FIRM (nnly
provide per lnstruct|ons)

court that he or she (i) ll t'lnan

this case.

 

counsel).
l ue to the expected le -_<
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Ei'lL

i4. STAGE OF PROCEED|NG
Check thc box which corresponds lo th e stage of the
a later stage of the proceeding CHECK NO MORE THAN ONE BOX,

lTAL

      
  
 

because the interests of justice w require,
determined to possess the apecl|'tc quaiilic

Appointment Date:

 

[A) Bet:ause the above-named person represented hal testified under oath or has otherwise satlsile

cially unable to empioy counsel and (2) does not wish to waive couns£;a'ji ’ / '
the attorney whose name appears in ltem 11, who haa been
alions required by law. is appointed to represent this perso

(Bi The attorncynamed in item il ls appointed to serve as: ULEAD COUNSEL i:]C()-COUNSE`.L
Narne oi' Co-Cmnsei or Lead Counsel:

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[C) lfyou represented the defendant or petitioner in any prior proceedin-
your initial claim a listing ofthosc proceedings and describe your roi

\..,. - l ne
-ed pursuant m

Submlt a separate voucher for each stage of the proceeding

BE R
a i:i Pre'Tt'iaI e i:l Appeal g. [] Haheas Pclition ic i:| Petition for the U.S
b l:i Tria] ii ij Fctitt`on for thc U\ S. h. l:i E.vidc~niiaty Hearing Supreme Court
c m Seniencing Suprcme Court t l:] Dispositivc Motions Writ ofCertioruri
d l] other rust not writ orc¢nim-.tri 1 lIl Appen

 

  
    

 

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er of tile Court

Nunc i’rn Tulte Date
cnt or partial repayment rrdered from the person represented for this service at time of
l:l YES i:l NO

 

proceeding during which the work c|a,‘sncd at item 15 was performed even if`the work is intended to be used in connection with

Other

  
   
 
  
  
  
    
 
 
 
 
 

Slay of Exccution

Appcai nl°Denia| ofStay

Petition for Writ orCmt`omzi to the U.S
Suprornc Coun Regarding Dcnial ofSlay

  

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'- mpensation and

  

  
 

   
     
  

 

 

 

 

n

. Witnesa interviews

 

51

Consultatton with investigators and Experts

 

n

. Ohtallt|ng and Rev|ew|ng the Court Record

 

»-n

. Ohtalning and Reviewing Dncuments and Evldence

 

. Consuitlng with Expert Counse|

 

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. i.ega| Res erach and erting

 

i. Travei

 

i. Oti\er (Spec|i’y on additional alteets)

 

 

  
 
 

Toia|s: Categorles h thru j (Rate per hour " 5

 

'- 1a

Travc| Expenses (lodglng, parking. meaia. mllcage, ete.)

  

Other Ettpeuses [other than expert, irmacrlpts,etc.)

FROM 10

 

 

 
  
    
 
  
 
    
 
   
 
 
  
 
 
 

 

TOTAL MATHrrF,CH M.A‘rt~lrrt:(:u
15. cATEcomi:s C[*“gmso AMouNT Amosrco Aowsrco AR§'V‘;'€`,UAL
(Altach itemization ol` services with dales) CLMMED HOURS A.MOUNT
a. ln-Court Hearings (Rate per Hnur ' $ ) ll`_l'rg¥gll}'[ Ii'§`r(('.'>$klllzT
h. tntervtewx end Conterene¢s with Client tCltezorv l) tCntezory vi

 

OUT OF COURT
(Categories h - ll

    
 

  

OUT OF COURT
(Categor|es b - ]}

 

 

 

 

 

 

19. AFPOINTMENT TERMINAT]ON DATE [F

OTHER THAN CASE COMI’LETlON

 
 

20. CASE DISPO SlTlON

 

 

11. CLA|M STATUS [:I Flnal Payment I:] lnterim Payment Numher ___
Have you previously applied to the court t'or compensation and:'or remimbursement t'nr this case‘.'
Other than I'rnm the court, have you, or toyour knowledge has anyone eise, received
rcpresentation? l:| YES E| NO ifyes, give details on additional sheets.
f swear or attirm the truth or correctness of the above statementl.

 

 
 

S|lnature ot'

 

12.

m YES i:i St.{l§|pl?qm(;ntai

payment (compensation or anything or value) from any other source |n connection with this

 

Fayment
lt°yes, were you paid'.'

[:F YES |:l NO

 

   
 

    

    

' tow-ao 353

26. TO ALAMT.APPROVED

 

27. SIGNATURE OF THE PRES|DING JUDlClAL OFFICER

 

DATE

 

 

27a. JUDCE CODE

     
   
 

 

 

 

STRIC COURT - W'"ERNT DISTRCT oFTENNESSEE

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ThiS notice confirms a copy of thc document docketed as number 209 in
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Honorable Bcrnicc Donald
US DISTRICT COURT

